Case 1:04-cv-01208-.]DT-STA Document 6 Filed 06/21/05 Page 1 of 2 Page|D 3
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IN THE UNITED sTATEs DisTRiCT CouRT QSL@ 3
FoR THE WESTERN DISTRICT oF TENNESSE;__E` 't’€/ .,;Qp
EASTERN DIVISloN w 4 '

  

UNITED STATES OF AMERICA, § wj/\j,§§`/
§ _,P_
Plaintiff, §
§ Civ. No. 04-1208-T/An
VS. § Crim. No. 01-10032-2-T
il
SCOTT MASSEY, §
ll
Defendant. §

 

ORDER DIRECTING UNITED STATES TO RESPOND

 

Defendant Scott l\/lassey, Bureau of Prisons inmate registration number 17707-076,
an inmate at the F ederal Medical Center in Lexington, Kentucky, filed a pro se motion
pursuant to 28 U.S.C. § 2255 on August 3(), 2004.

lt is ORDERED that the United States tile a response to the motion Within twenty-
three days from the date of this order.

The Clerk shall provide a copy of the original and amended motions in this cause and
this order to the United States Attorney for the Western District of Tennessee.

J_",_
iT is so oRDERED this 90 day ofJune, 2005.

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JAM D. TODD
UNI D STATES DISTRICT JUDGE

This document entered on the docket sheet ln compliance

with sure se ana:or_?e (a) FRCP on @{Q 121 -OS

     

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:04-CV-01208 Was distributed by faX, mail, or direct printing on
June 21, 2005 to the parties listed.

 

 

Scott Massey

Federal l\/ledical Center
17707-076

P. O. BoX 14525
LeXington, KY 4051 l

Honorable J ames Todd
US DISTRICT COURT

